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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA
                                  WESTERN DIVISION

JOHN & JIM, INC. and MID-AM RACING     )
CORP.,                                 )
                                       )
                   Plaintiffs,         )
                                       )
       v.                              )
                                       )
INSURANCE AUTO AUCTIONS CORP.          )
also known as INSURANCE AUTO AUCTIONS, )
INC.,                                  )
                                       )
                   Defendant.          )
                                       )

                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that, under 28 U.S.C. §§ 1441 and 1446, Defendant

INSURANCE AUTO AUCTIONS CORP. (“Defendant”), removes the action captioned John &

Jim, Inc. and Mid-Am Racing Corp., v. Insurance Auto Auctions Corp. also known as Insurance

Auto Auctions, Inc., in the Iowa District for Mills County, (the “State Court Action”) to the United

States District Court for the Southern District of Iowa. The grounds for removal are as follows:

        1.     Plaintiffs John & Jim, Inc. and Mid-Am Racing Corp., (“Plaintiffs”) commenced

the State Court Action by filing an Original Notice and Petition on December 3, 2020. True and

correct copies of the Original Notice, Petition, and other state court filings are attached as Exhibit

A.

        2.     Defendant received a copy of the Original Notice and Petition on December 17,

2020.

        3.     The Original Notice and Petition are the only pleadings Plaintiffs have sent to

Defendant.



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        4.       This Notice of Removal is timely under 28 U.S.C. § 1446(b) because Defendant is

filing it within 30 days after “receipt” of copies of the Original Notice and Petition.

        5.       The United States District Court for the Southern District of Iowa is the proper

place to file this Notice of Removal because it is the federal district court that embraces the place

where the State Court Action was filed and is pending.

                                       DIVERSITY JURISDICTION

        6.       This Court has diversity jurisdiction over this action under 28 U.S.C. § 1332.

        7.       Plaintiffs state in their Petition that John & Jim, Inc. is a Iowa corporation with its

principal office in Council Bluffs, Iowa. Petition, ¶ 1. Mid-Am Racing Corp. is a Iowa corporation

with its principal office in Pacific Junction, Iowa. Petition, ¶ 2. They are therefore citizens of the

State of Iowa.

        8.       Insurance Auto Auctions Corp., is a Delaware corporation with its principal place

of business in Illinois. Defendant is therefore a citizen of the States of Delaware and Illinois.

Petition, ¶ 4.

        9.       Thus, there is complete diversity of citizenship between Plaintiffs and Defendant.

                         AMOUNT IN CONTROVERSY EXCEEDING $75,000

        10.      This dispute involves a controversy that exceeds the value of $75,000, exclusive of

interests and costs.

        A. The Pleaded Actual Damages are Sufficient to Satisfy the Amount In Controversy
        Requirement

        11.      According to their Petition, Plaintiffs seek monetary damages for repair to their

fifteen (15) acre racetrack and adjacent land, including a drag strip racing pit area, parking lot,

sidewalks, and fencing, and for lost business income, lost business opportunities, lost rental




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income, pre-judgment interest, post-judgment interest, attorneys’ fees and costs, and punitive

damages. Petition, ¶¶ 24, 29, 36, 46.

        12.       To meet their jurisdictional requirements pursuant to Iowa Rule of Civil Procedure

1.403(1), the Petition alleges that Plaintiffs’ damages exceed $10,000 but does state the specific

amount of money damages sought. Petition, ¶ 6.

        13.       When the petition/complaint does not claim a specific amount of damages, removal

from state court is proper if it is facially apparent from the complaint that the amount in controversy

exceeds the jurisdictional requirement. Williams v. Best Buy Co., Inc., 269 F.3d 1316, 1319 (11th

Cir. 2001). The amount in controversy is measured “by the value to the plaintiff of the right sought

to be enforced” when the amount is in question. Am. Family Mut. Ins. V. Vein Ctrs. For

Excellence, Inc., 912 F.3d 1076, 1081 (8th Cir. 2019).

        14.       Here, the Court may find that it is facially apparent from the Petition itself that the

amount in controversy exceeds the amount in controversy requirement. Under a fair reading of

the Petition, if Plaintiffs were to receive the relief they request, namely for the repair of a racetrack,

adjacent land, drag strip, racing pit area, parking lot, sidewalks, fencing, and for lost business

income, lost business opportunities, and lost rental income, the amount in controversy would

clearly be met.

      B. There are also Sufficient Additional Facts to Satisfy the Amount In Controversy
Requirement

        15.       Pursuant to LR 81(a)(4), Defendant sets forth the following statement of facts

supporting that the amount in controversy has been met in that the dispute involves a controversy

that exceeds the value of $75,000, exclusive of interests and costs.

        16.       Plaintiffs have confirmed in “other paper” that the amount in controversy exceeds

the value of $75,000, where they made a pre-suit demand of $1,000,000. See, e.g., Cent. Iowa

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Agri-Sys. v. Old Heritage Advert. & Publishers, Inc., 727 F. Supp. 1304, 1305 (S.D. Iowa 1989)

(finding that plaintiff had plainly told defendant in writing before filing suit that plaintiff estimated

its damages to be in an amount in excess of the amount required for immediate removal of the

action to federal court and the plaintiff's pre-suit demand letter was an “other paper” under the

meaning of Section 1446(b) from which it could reasonably “be ascertained” that the case was

then removable to federal court); LaPree v. Prudential Fin., 385 F. Supp. 2d 839, 850 (S.D. Iowa

2005) (holding that demand letters constituted “other paper” providing the necessary affirmative

proof that the jurisdictional amount was satisfied in accordance with 28 U.S.C. § 1446(b)).

        17.     Additionally, Plaintiffs provided a pre-suit report purporting to evidence the

amount of damages Plaintiffs claim is at issue in this litigation. For purposes of removal under 28

U.S.C. § 1446(b)(3) “other paper” may include such reports. Hernandez v. Cooper Tire & Rubber

Co., No. 12-1399-JWL, 2013 WL 141648, at *1 (D. Kan. Jan. 11, 2013); Maxwell v. E-Z-Go, 843

F. Supp. 2d 1209, 1216 (M.D. Ala. 2012). And while Defendant denies any liability, the report

nonetheless demonstrates that Plaintiffs are claiming damages exceeding $75,000.

        18.     True and correct copies of Plaintiffs’ demand of $1,000,000 and the damages report

are attached to the declaration of Defendant’s in-house litigation counsel, Jeffrey Cisowski, which

is attached hereto as Exhibit B.

        19.     The district court has subject matter jurisdiction in a diversity case when a fact

finder could legally conclude, from the pleadings and proof adduced to the court before trial, that

the damages that the plaintiff suffered are greater than $75,000. Kopp v. Kopp, 280 F.3d 883, 885

(8th Cir. 2002). Here, Defendant has met its burden of proving that Plaintiffs’ allege damages

greater than $75,000 and therefore the jurisdictional threshold is satisfied.




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        20.     Accordingly, this Court therefore also has original jurisdiction over this action

under 28 U.S.C. § 1332(a) because the parties are citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interests and costs.

                         COMPLIANCE WITH REMOVAL PROCEDURES

        21.     A true copy of this Notice of Removal is being provided to Plaintiffs’ counsel under

28 U.S.C. § 1446.

        22.     Under 28 U.S.C. §1446(d), a true copy of this Notice of Removal will be filed with

the Office of the Clerk of the Court in Mills County, Iowa. A true and correct copy of the Notice

of Filing Notice of Removal is attached as Exhibit C.

        23.     There are no motions pending in the State Court Action that will require resolution

by the state court.

                                            RESERVATIONS

        24.     Defendant reserves the right to amend or supplement this Notice of Removal.

        25.     By removing this action, Defendant does not waive any defenses, objections, or

motions available under state or federal law. Defendant expressly reserves the right to move for

dismissal of some or all of Plaintiffs’ claims or seek dismissal or transfer on grounds of lack of

personal jurisdiction, improper venue, forum non conveniens, failure to state a claim, binding

arbitration provision, or any other applicable grounds.

        WHEREFORE, Defendant removes the State Court Action to the United States District

Court for the Southern District of Iowa.




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Dated: January 6, 2021                              Respectfully submitted,

                                                    /s/ Robert Livingston
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                                                    Attorney for Insurance Auto Auctions Corp.
                                                    also Known As Insurance Auto Auctions,
                                                    Inc.,


                                CERTIFICATE OF SERVICE

       The undersigned certified that a true and correct copy of the foregoing document was

served upon all counsel on January 6, 2021 via regular mail and email to:

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                                                           /s/ Robert Livingston




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